     Case 2:23-ap-01426-DS     Doc 27 Filed 11/12/24 Entered 11/12/24 15:04:58              Desc
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4                                                                       NOV 12 2024
5                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California
6                                                                  BY bakchell DEPUTY CLERK



7
8                              UNITED STATES BANKRUPTCY COURT

9                               CENTRAL DISTRICT OF CALIFORNIA

10                                     LOS ANGELES DIVISION

11     In re                                          Case No. 2:23-bk-13864-DS
12     TOBY EDWARD TORRES,                            Chapter 7
13                                Debtor.  Adv. No. 2:23-ap-01426-DS
       ___________________________________
14
       COMPLETE INDUSTRIAL REPAIR, INC.,
15                                                    ORDER CONTINUING STATUS
                                         Plaintiff,   CONFERENCE
16             v.
17     TOBY EDWARD TORRES,
18                                   Defendants.
19
20             A status conference was held on November 12, 2024. Frank E. Marchetti appeared
21     on behalf of the plaintiff. No appearance was made on behalf of the defendant. Based on
22     the foregoing, and for the reasons stated on the record,
23     ///
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     Case 2:23-ap-01426-DS         Doc 27 Filed 11/12/24 Entered 11/12/24 15:04:58    Desc
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1             IT IS HEREBY ORDERED that the status conference is continued to December 17,

2      2024 at 1:00 p.m., at which time counsel should be prepared to discuss new dates for the

3      pre-trial order deadline, pre-trial conference, and trial.

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24       Date: November 12, 2024

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